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15
                               UNITED STATES DISTRICT COURT
16
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     UNITED STATES OF AMERICA,                      No. CR 19-642-VAP *
18                                                  No. CR 20-155-VAP
                Plaintiff,
19                                                  ORDER RE GOVERNMENT’S EX PARTE
                       v.                           APPLICATION TO FILE OVERSIZED
20                                                  SENTENCING POSITION
     IMAAD SHAH ZUBERI,
21
                Defendant.
22

23

24         Having read and considered Government Unopposed Ex Parte
25   Application for Leave to File Oversized Sentencing Position filed on
26   November 9, 2020, and with good cause appearing, the Court ORDERS as
27   follows:
28                                              1
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 1           The government is permitted to file a Sentencing Position

 2   exceeding the twenty-five page limit set forth in Local Civil Rule

 3   11-6.

 4           IT IS SO ORDERED.

 5

 6    Dated: November 13, 2020

 7
                                           HONORABLE VIRGINIA A. PHILLIPS
 8                                         UNITED STATES DISTRICT JUDGE

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